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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                  AT LEXINGTON


UNITED STATES OF AMERICA,                  )
                                           )        CRIMINAL NO. 5:13-123-KKC
             Plaintiff,                    )
v.                                         )
                                           )        JUDGMENT
                                           )
JOHNNY JAMES VERDELLE PAYNE,               )
                                           )
             Defendant.                    )

                                       ** ** ** ** **

     In accordance with the opinion and order entered on this date, the Court herby ORDERS and

ADJUDGES as follows:

     1) Defendant Johnny James Verdelle Payne’s motion to vacate under 28 U.S.C. § 2255 (DE

        434) is DISMISSED;

     2) this judgment is FINAL and APPEALABLE;

     3) a certificate of appealability will not be issued, Payne having failed to make “a

        substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); and

     4) This matter is STRICKEN from the Court’s active docket.

      Dated July 25, 2018.
